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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                          Plaintiff,

v.
                                                    Case No. 19-20082-JAR
JESUS LABRADO,

                          Defendant.

             PRETRIAL AND CRIMINAL CASE MANAGEMENT ORDER

        The defendant appeared for arraignment and pleaded not guilty on December 30,

2019 before the undersigned U.S. Magistrate Judge, James P. O'Hara. The government,

the United States of America, appeared through Assistant U.S. Attorney Sheri Catania.

Defendant appeared in person and with counsel, Tim Burdick.

Section 1: Purpose.

        This Pretrial and Criminal Case Management Order summarizes the parties’

disclosure and discovery obligations. This Order applies to the charge(s) now on file and

to any superseding charge(s) filed in this case. It also puts the case on track to be tried

within the deadlines imposed by the Speedy Trial Act of 1974, as amended, 18 U.S.C.

§ 3161 et seq., and this Court’s implementation of that statute through D. Kan. Rule CR

50.1.

        The Court and the parties acknowledge that complete, early, and orderly discovery

facilitates the fair and efficient resolution of cases. A principal purpose of this Order is to

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reduce or eliminate the inefficient filing of boilerplate discovery motions and motions for

extension of time. The Court, by this Order and the parties’ good faith allegiance to its

directives, endeavors to reach a just determination in this case, avoid unnecessary motion

practice, secure administrative fairness, and eliminate unnecessary expense and delay.

        Accordingly, the parties must communicate with each other regarding scheduling

and discovery to fulfill the Court’s Order. The Court strongly encourages the parties to

exchange information promptly and at times sooner than those specified. Moreover, the

parties are encouraged to provide more comprehensive discovery than required by the

letter of this Order, by rule, or by statute, and in a manner that promotes efficiency and

accessibility. See Fed. R. Crim. P. 2. Notwithstanding this strong encouragement to

provide more comprehensive discovery than required, the parties are not required to

provide privileged materials and information to each other.

Section 2: Timing.

        The original arraignment date governs the times specified in this Order. The times

will not be automatically modified, suspended, extended, or restarted by the filing of

additional or superseding charges. See D. Kan. Rule CR 50.1. Counsel must promptly

notify the Court if they contend the filing of additional or superseding charges requires

the time limits to be modified.

         A Status Conference before the presiding U.S. District Judge, Julie A. Robinson,

will be held on February 3, 2020, at 9:00 a.m., in Courtroom 427 of the U.S.

Courthouse in Kansas City, Kansas.

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Section 3: Meet and Confer.

        The Court expects that before the Status Conference the government will, in good

faith, provide all reasonably available discovery and discuss with the defense any

anticipated rolling discovery. Likewise, the defense will discuss anticipated reciprocal

discovery. The Court strongly encourages the parties to commence discovery and to

promptly meet and confer to allow an informed and informative discussion about the

scope and timing of discovery and related issues.

        The parties must thoroughly discuss the following matters, as then known to the

parties, so as to provide a complete and accurate report to the Court at the Status

Conference:

       1.        The status of discovery production and a firm but realistic schedule for any
                 rolling discovery;

       2.        The discovery media and format1 and any issues related to the production
                 of electronically stored information (ESI);2

        3.       The parties’ prospective witnesses;3

        4.       Whether the government intends to invoke the Jencks Act under 18 U.S.C.
                 § 3500, in part or in whole, and if so, when it will agree to produce witness
                 statements, as set forth in Fed. R. Crim. P. 26.2;
_________________________________
        1
        The defense may opt to receive hard copies of discovery if available and if it can be
disseminated sooner than discovery in electronic format.
        2
         See “Recommendations for ESI Discovery Production in Federal Criminal Cases,”
published by the Department of Justice and the Administrative Office of the U.S. Courts Joint
Working Group on Electronic Technology in the Criminal Justice System (JETWG) (February
2012).
        3
          This includes government cooperating witnesses, as confirmed by the government at
that time. If disclosure of witness-locating information poses a security concern, the government
may alternatively make the witness available for defense interview, with the witness’s consent.
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        5.       In cases in which the government is not invoking the Jencks Act provisions,
                 witness statements (as defined in 18 U.S.C. §3500 and/or Fed. R. Crim. P.
                 26.2), reports, and/or memoranda of interviews of prospective government
                 witnesses and when such information will be disclosed; whether there is a
                 need for the statements or memoranda to be redacted; and, if so, when the
                 unredacted information will be provided. If the parties are unable to reach
                 an agreement regarding redaction, the Court must be notified at the Status
                 Conference. The Court may require the government to show why, specific
                 to the case or the witness, temporary redaction is necessary and appropriate.

        6.       Whether the defense intends to opt out of any discovery receipt that would
                 trigger reciprocal discovery obligations under Fed. R. Crim. P. 16(b) and
                 Section 10, below.

        7.       Whether any discovery should be subject to a protective order, and the
                 terms of any agreed protective order between the parties, or if unable to
                 agree to a protective order, the disputed terms of any proposed protective
                 order.

        8.       Any discovery dissemination limitations;

        9.       Information required by Brady v. Maryland, 373 U.S. 83 (1963) and Giglio
                 v. United States, 405 U.S. 150 (1972), and their progeny.

        10.      Evidence under Fed. R. Evid. 404(b), regardless of whether the government
                 intends to offer it at trial;

        11.      Reciprocal discovery, as required by Fed. R. Crim. P. 16(b)(1), and notice
                 of defenses as more fully described in Section 10, below; and

        12.      Whether the case should be designated as complex under the Speedy Trial
                 Act.

Section 4: Status Conference.

        At the Status Conference, the parties must (1) request a Fed. R. Crim. P. 11

change-of-plea hearing, or (2) propose deadlines for pretrial motions and trial in

compliance with the Speedy Trial Act. The parties must advise the Court whether

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evidentiary hearings on such motions are anticipated and how long the trial is expected to

last. The Court expects the parties will be prepared to report on the matters listed in

Section 3, above, and offer a firm but realistic schedule for any remaining discovery to be

completed.

        Any motion to toll or expand the Speedy Trial Act must be filed before the Status

Conference and comply with Section 13, below.

        The government must give notice if it intends to invoke the Jencks Act, 18 U.S.C.

§ 3500. The defense must give notice if it intends to opt out of receiving any discovery

that would trigger reciprocal discovery obligations under Fed. R. Crim. P. 16(b).

        Any unresolved discovery or scheduling matters must be presented to the Court at

the Status Conference, along with the reasons the parties could not agree despite good

faith allegiance to the directives of this Order and despite their having met and conferred.

The Court may rule upon the unresolved matters at the Status Conference, or may direct

the parties to further confer or to file written motions for the Court’s consideration. In

cases in which the government is not invoking the Jencks Act, if the parties are unable to

reach an agreement about redaction of witness statements of prospective government

witnesses or memoranda of interviews of prospective government witnesses, the Court

will grant a related motion only upon a specific showing that temporary redaction is

necessary and appropriate in this case and for that witness.




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Section 5: Automatic Discovery and Notice Obligations.

        A specific request by either party is not necessary to trigger the obligations set

forth in this Order or any discovery-related rule or statute. In general, the parties must

immediately comply with:

        1.       All notice provisions of the Federal Rules of Criminal Procedure;4

        2.       Brady and Giglio, and their progeny; and

        3.       If the government has given notice it intends to invoke the Jencks Act, it
                 must produce witness statements according to 18 U.S.C. § 3500 and Fed. R.
                 Crim. P. 26.2.

A party may not assert the absence of a specific request as a reason for its failure to

comply with this Order or any applicable rule or statute.

Section 6: Government’s Discovery Obligations.

        This Order requires the government to provide discovery, commencing on or

before the date of arraignment, and to timely complete discovery, as more fully outlined

below, so the parties are equipped to engage in intelligent and informed plea negotiations

early in this case. Discovery is tied to the date of arraignment, not the trial setting, given

most cases are disposed of by plea, and given a defendant’s decision to plead guilty is a

critical decision that must be made voluntarily and with knowledge, information, and




_________________________________
        4
         Fed. R. Crim. P. 12 (government notice of intent to use evidence defendant may seek to
suppress); Fed. R. Crim. P. 12.1 (notice of alibi defense); Fed. R. Crim. P. 12.2 (notice of
insanity defense); Fed. R. Crim. P. 12.3 (notice of public authority defense); Fed. R. Crim. P. 16
(parties’ disclosures and discovery); and Fed. R. Crim. P. 26.2 (production of witness
statements).

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understanding about the factual and evidentiary basis for the charges at issue, as well as

the exculpatory and inculpatory evidence about the defendant’s conduct.

        Without limiting the foregoing general directives, pursuant to Fed. R. Crim. P.

16(a) and other statutes, laws, and rules, unless the defense has opted out of any

discovery receipt that would trigger reciprocal discovery obligations under Fed. R. Crim.

P. 16(b), the government must provide discovery by copying for the defense and/or

permitting the defense to inspect and copy or photograph all discovery, including:

        1.       Any relevant written or recorded statements made by the defendant,
                 including grand jury testimony, in the government’s possession, custody, or
                 control, the existence of which is known or by the exercise of due diligence
                 may become known to the government;

        2.       The substance of any relevant oral statement made by the defendant, and
                 that portion of any written record containing the substance of any relevant
                 oral statement made by the defendant, whether before or after arrest, in
                 response to interrogation by any person then known to the defendant to be a
                 government agent;

        3.       A copy of the defendant’s prior criminal record, if any, in the government’s
                 possession, custody, or control, the existence of which is known or by the
                 exercise of due diligence may become known to the prosecutor;

        4.       Any books, papers, documents, photographs, tangible objects, buildings or
                 places, or copies or portions thereof, in the government’s possession,
                 custody, or control and that are material to the preparation of a defense or
                 are intended for use by the government as evidence in its case-in-chief at
                 trial, or were obtained from or belong to the defendant;

        5.       Any results or reports of physical or mental examinations, or scientific tests
                 or experiments, or copies thereof in the government’s possession, custody,
                 or control, the existence of which is known or by the exercise of due
                 diligence may become known to the government, and that are material to
                 the presentation of a defense or are intended for use by the government as
                 evidence in its case-in-chief at trial;


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        6.       Except in cases in which the government has invoked the Jencks Act
                 provisions, as allowed above, all statements or memoranda of proffers by a
                 government witness, including the name of the witness, and either
                 information to locate the witness or an offer to arrange access for the
                 defendant to interview the witness if the witness consents to such interview.
                 Any proffer statements by a government witness must be produced in
                 unredacted form, unless the parties agree or the Court orders otherwise;

        7.       The government must provide the defendant a written summary of
                 testimony the government intends to use under Fed. R. Evid. 702, 703, or
                 705 during its case-in-chief. As required by Fed. R. Crim. P. 16(a)(1)(G),
                 this summary must describe the witness’s opinions, the bases and reasons
                 for those opinions, and the witness’s qualifications. If the defendant
                 requests such expert discovery and the government complies, or if the
                 defendant has given notice under Fed. R. Crim. P. 12.2(b) of an intent to
                 present expert testimony of the defendant’s mental condition, then the
                 defendant must provide the government reciprocal expert discovery. See
                 Fed. R. Crim. P. 16(b)(1)(C);

        8.       Pursuant to Brady and its progeny, all evidence in the government’s
                 possession, custody, or control that would tend to exculpate the defendant,
                 that is, evidence favorable to a defense or dispositive motion, or would
                 serve to mitigate any punishment that which may be imposed in this case;

        9.       Pursuant to Giglio and its progeny, all evidence in the government’s
                 possession, custody, or control that would constitute impeachment of
                 government witnesses. Giglio evidence includes, but is not limited to, the
                 following:

                 a.       Any evidence tending to show threats, promises, payments, or
                          inducements made by the government or any of its agents that would
                          bear upon the credibility of any government witness;

                 b.       Any statement of any government witness that is inconsistent with a
                          statement by the witness that led to the indictment in this case;

                 c.       Any statement of any government witness that the attorney for the
                          government knows or reasonably believes will be inconsistent with
                          the witness’s testimony at trial;

                 d.       Any prior conviction of any government witness that involved
                          dishonesty or false statement or for which the penalty was death or
                          imprisonment in excess of one year under the law under which he or
                          she was convicted;
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                 e.       Any pending felony charges against any government witness; and

                 f.       Any specific instances of the conduct of any government witness
                          that would tend to show character for untruthfulness; and

        10.      Evidence under Fed. R. Evid. 404(b), including evidence of other crimes,
                 wrongs, or acts of the defendant, regardless of whether the Government
                 introduces the evidence at trial. While the notice of Rule 404(b) use is not
                 due until 21 days before trial (see Section 9, below), any evidence properly
                 characterized as Rule 404(b) evidence must be disclosed subject to the
                 general discovery deadlines set forth below, and subject to the continuing
                 duty to disclose discovery during the life of the case. Because Rule 404(b)
                 evidence may be critical to plea negotiations, early discovery of such
                 evidence is warranted.

Section 7: Protection of Discovery Material.

        Although the exchange of discovery is critical to the efficient and just resolution

of a matter, the production of information may present inherent risks to the privacy and

safety interests of the parties and non-parties, such as witnesses, victims, and cooperating

individuals. The parties are thus strongly encouraged to enter into an agreed protective

order concerning those witness statements, reports, documents or other materials that

warrant protection.

        Otherwise, pursuant to Fed. R. Crim. P. 16(d)(1), the following protective

conditions apply to witness statements, as defined by 18 U.S.C. § 3500, and other

documents or materials containing personal identifying information or health

information.

        1.       These witness statements, documents and materials must be maintained in a
                 safe and secure manner by defense counsel.

        2.       These witness statements, documents and materials may not be
                 disseminated to the defendant personally, except as by court order or
                 written agreement between the parties.
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        3.       These witness statements, documents and materials may be disclosed by
                 defense counsel only to the following designated persons:

                 a.        investigative, secretarial, clerical, and paralegal personnel;

                 b.       independent expert witnesses, investigators, or advisors retained by
                          defense counsel in connection with this action;

                 c.       other witnesses testifying to the contents of the document/material;
                          and

                 d.       other persons authorized by the Court upon motion of either party.

Counsel must provide a copy of this Order to any designated person to whom discovery

material is disclosed, and they must agree to be subject to the terms of this Order. These

statements may not be redacted except as ordered by the Court. The foregoing provisions

do not prevent disclosure of discovery material in support of any motion, or at a hearing,

trial, or sentencing proceeding held in connection with this case, or to any District Judge

or Magistrate Judge of this Court for purposes of this case.

        Further, unless otherwise addressed in an agreed protective order, at the

conclusion of the case, including direct appeals, defense counsel must either return these

witness statements, documents and materials to the government, or give the government

notice that it intends to disseminate to the defendant these witness statements, documents

and materials. The government may file an objection to such dissemination on or before

28 days after such notice; the defendant may file a reply on or before 14 days after the

government’s response; and the Court will decide the issue with or without a hearing, at

the Court’s discretion.



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Section 8: Jencks Act Material.

           As earlier indicated, if the government chooses to invoke the provisions of the

Jencks Act, 18 U.S.C. § 3500, it must give notice to the Court at the Status Conference.

The Court acknowledges the statutory authority of the government to withhold witness

statements until the witness has testified. But the Court encourages early and complete

production in the interest of fairness and the efficient and expeditious resolution of cases,

consistent with the other cooperative and collaborative provisions of this Order. The

Court expects the invocation of the Jencks Act will be rare, and understands the

government and defense have a written memorandum of understanding that requires

either the U.S. Attorney or Criminal Chief to approve any invocation of the Jencks Act.

At the very least, in the interests of a timely and orderly trial, the government must be

prepared to provide Jencks Act material three days before trial.

           In the production of discovery, Brady and Giglio trump Jencks. That is, if material

qualifies as either Brady or Giglio, then it must be provided as directed by Section 6,

above, even if it otherwise qualifies as Jencks Act material.

Section 9: Government’s Discovery Deadlines.

           Discovery must commence on or before the date of arraignment of the

defendant(s). Discovery must be completed within 30 days after arraignment, to the

extent possible. Any such discovery not provided by 30 days after arraignment must be

promptly provided upon availability. This 30-day deadline does not apply to discovery

that is:

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        1.       not yet available;

        2.       not yet memorialized in writing;

        3.       ESI that is not yet processed and formatted for delivery and access; or

        4.        Jencks Act materials.

        Except in cases in which the government has invoked the Jencks Act, if any

witness provides a statement within 30 days of trial, the government must promptly

provide the defense with a summary of the witness’s statements that are different in any

respect than prior oral or written statements by the witness, or that provide information or

detail not provided by the witness in any prior statements discovered by the defense. The

government must provide this summary to the defense by email within 72 hours of the

witness’s statements, and in no event any later than 4 hours before the witness testifies.

The statements or memoranda of interviews must also be memorialized in writing and

promptly provided to the defense.

        The government must file its notice of Fed. R. Evid. 404(b) evidence it intends to

use at trial, on or before 21 days before trial.

Section 10: Reciprocal Discovery.

The government is granted reciprocal discovery unless the defense has given notice that it

intends to opt out of receiving discovery that would trigger reciprocal discovery

obligations. Specifically, as required by Fed. R. Crim. P. 16(b)(1)(A), (B), and (C), the

defense must provide:



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        1.       The government with the opportunity to inspect and to copy or photograph
                 books, papers, documents, data, photographs, tangible objects, buildings or
                 places, or copies or portions of any of these items if:

                 a.       the item is within the defendant’ possession, custody, or control; and

                 b.       the defendant intends to use the item in the defendant’s case-in-chief
                          at trial.

        2.       The government with the opportunity to inspect and to copy or photograph
                 the results or reports of any physical or mental examination and of any
                 scientific test or experiment if:

                 a.       the item is within the defendant’s possession, custody, or control;
                          and

                 b.       the defendant intends to use the item in the defendant’s case-in-chief
                          at trial, or intends to call the witness who prepared the report and the
                          report relates to the witness’s testimony.

        3.       A written summary of any testimony the defense intends to use under Fed.
                 R. Evid. 702, 703, or 705 as evidence at trial, if:

                 a.       the defendant requests disclosure under Fed. R. Crim. P. 16(a)(1)(G)
                          and the government complies, or

                 b.       the defendant has given notice under Fed. R. Crim. P. 12.2(b) of an
                          intent to present expert testimony on the defendant's mental
                          condition.

Summaries of expert testimony must describe the witness’s opinions, the bases and

reasons for those opinions, and the witness’s qualifications.

        The defense must provide reciprocal discovery within 14 days after the

government makes its disclosures as required in Section 6, above. Within that same 14-

day period, the defense must provide the government disclosure of information called for

by Fed. R. Crim. P. 12.1, 12.2, and 12.3.



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        If the defendant timely discloses an alibi defense under Rule 12.1, then within 14

days after the defendant’s disclosure, the government must serve upon the defendant a

written notice stating the names and locating information (or ability to access for

interview) the witnesses upon whom the government intends to rely to establish the

defendant’s presence at the scene of the alleged offense and any other witnesses to be

relied on to rebut testimony of any of the defendant’s alibi witnesses.

Section 11: Electronically Stored Information (ESI).

        All discovery in electronic media must be accessible, searchable, and organized.

The parties agree to provide discovery in PDF, TIFF, or native/near-native file formats.

Any information needed to access the material must be provided contemporaneously. If

particular discovery warrants different media or format, or the proprietary nature of the

format makes the discovery generally unreadable, the parties must work together to

ensure timely access to the material. The disclosing party must not degrade the

searchability of documents or eliminate metadata associated with files as part of the

document-production process. Imaged files must be searchable unless the receiving party

agrees to accept the discovery in a non-searchable format. The Court will employ as a

guide, and the parties are strongly encouraged to follow, the “Recommendations for ESI

Discovery Production in Federal Criminal Cases.” See footnote 2 in Section 3, above.

Section 12: Continuing Duty to Disclose Discovery.

        All parties have a continuing duty to promptly provide any newly discovered or

acquired information within the scope of this Order. Failure to abide by these obligations

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could result in the imposition of sanctions or the following remedies as set out in Fed. R.

Crim. P. 16(d)(2). The Court may:

        1.       order the party to permit the discovery or inspection, specify its time, place,
                 and manner, and/or prescribe other just terms and conditions;

        2.       grant a continuance;

        3.       prohibit that party from introducing the undisclosed evidence; or

        4.       enter any other order that is just under the circumstances.

Section 13: Speedy Trial Act.

        Any motion seeking to extend the 70-day Speedy Trial Act trial deadline and to

designate excludable time under the ends-of-justice provision in 18 U.S.C. 3161(h)(7)

must be filed jointly by the government and the defense. Any disagreements between the

parties must be concisely set forth in the motion, e.g., the reasons for the competing

positions and supporting rationale. A motion filed after the Status Conference will be

closely scrutinized by the Court to determine whether it raises issues that should have

been reasonably anticipated before the Status Conference.

        Motions to extend the Speedy Trial Act’s deadlines that are supported only by

conclusory or boilerplate statements tracking the language found in 18 U.S.C.

3161(h)(7)(B)(i)-(iv), even if stipulated by the parties, have been held by the Tenth

Circuit to be insufficient as a matter of law.5 For example, it is not enough merely to

state that counsel is new and needs more time to adequately prepare for trial, or that

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         United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009); see also Zedner v.
United States, 547 U.S. 489, 498 (2006).

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counsel or witnesses will be out of town in the weeks preceding trial. Press of other

business ordinarily is not sufficient to justify an ends-of-justice continuance. Simply put,

the Court must be in a position to make adequate factual findings that the ends of justice

served by granting any requested extension actually do outweigh the best interests of the

defendant, and the public, in a speedy trial. In addition, counsel must email to the

chambers of the judge who will preside at the conference a proposed order that includes

detailed findings under 18 U.S.C. 3161(h)(7). Factors important to this Court include

why the mere occurrence of the event identified by the party as necessitating the

continuance results in the need for additional time and, in turn, how failure to grant the

continuance would prejudice that party’s position at trial, would be likely to make a

continuation of such proceeding impossible, or otherwise result in a miscarriage of

justice. For example, what’s the procedural stage of the case? Does the case have a

complicated history? If there’s recently disclosed discovery, how much discovery was

produced previously, what’s the nature, relevance, or importance of the new discovery,

and what further investigation is needed as a result of the new discovery? And why is the

length of the requested continuance (e.g., one month vs. two months) appropriate?

        If either party moves to designate the case as complex, the reasons should be

explained in reasonable detail. In cases that don’t qualify as unusual or complex, the

motion should address whether the failure to grant a continuance would deny the

defendant reasonable time to obtain counsel, would unreasonably deny the defendant or

the government continuity of counsel, or would deny the defense counsel or the

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prosecutor the reasonable time necessary for effective preparation, taking into account

and demonstrating (not just stating) that counsel has exercised due diligence. If a witness

is unavailable, the motion should explain the significance of the witness, why the witness

is unavailable, and when the witness will be available.

        In multi-defendant cases, the motion must list, as to each defendant, the date on

which the indictment or information was filed, the date of the defendant’s initial

appearance, whether the defendant is in custody and, if so, the date on which the

defendant went into custody. In such cases, although the joinder of an additional

defendant with new charges might result in excludable time (see 18 U.S.C. 3161(h)(6)),

new defendants may be subject to different Speedy Trial Act deadlines and thus the

motion must address the prospect that one or more defendants might be tried separately to

ameliorate speedy-trial concerns.

Section 14: Flexibility.

        As indicated in Section 1, above, the basic purposes of this Order are to provide

for the just determination of every criminal proceeding, to secure simplicity in procedure

and fairness in administration, and to eliminate unjustifiable expense and delay. See Fed.

R. Crim. P. 2. Accordingly, at any time, for good cause shown, the Court may deny,

restrict, or defer discovery or inspection, or grant other appropriate relief. See Fed. R.

Crim. P. 16(d)(1).

       IT IS SO ORDERED.

        Dated December 30, 2019, at Kansas City, Kansas.

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                                                s/ James P. O’Hara
                                                James P. O'Hara
                                                U.S. Magistrate Judge




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